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                        Exhibit 2-6

            Form of Section 510(b) Claims Ballot




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                                            Chapter 11

                                                                 Case No. 23-10831 (MFW)
Lordstown Motors Corp., et al., 1
                                                                 (Jointly Administered)
                                           Debtors.



                BALLOT FOR VOTING TO ACCEPT OR REJECT THE
              MODIFIED FIRST AMENDED JOINT CHAPTER 11 PLAN OF
            LORDSTOWN MOTORS CORP. AND ITS AFFILIATED DEBTORS

                                CLASS 8 – SECTION 510(B) CLAIMS

PLEASE CAREFULLY READ THE ENCLOSED INSTRUCTIONS FOR COMPLETING
THIS BALLOT BEFORE COMPLETING THIS BALLOT.

THIS BALLOT MUST BE COMPLETED, EXECUTED AND RETURNED SO THAT IT
IS ACTUALLY RECEIVED BY THE DEBTORS’ SOLICITATION AGENT ON OR
BEFORE DECEMBER 12, 2023 AT 5:00 P.M. (PREVAILING EASTERN TIME) (THE
“VOTING DEADLINE”). IF THIS BALLOT IS NOT PROPERLY COMPLETED,
SIGNED AND RECEIVED BY THE SOLICITATION AGENT ON OR BEFORE THE
VOTING DEADLINE, THEN THE VOTES TRANSMITTED BY THIS BALLOT WILL
NOT BE COUNTED.

ACCESS TO SOLICITATION MATERIALS:

THE PLAN, DISCLOSURE STATEMENT, AND DISCLOSURE STATEMENT ORDER,
INCLUDING THE ATTACHED SOLICITATION PROCEDURES AND OTHER
EXHIBITS,    MAY   BE    ACCESSED,    FREE   OF    CHARGE   AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN      BY   CLICKING   ON   THE
“SOLICITATION MATERIALS” TAB ON THE HOME PAGE.

YOU CAN ALSO REQUEST, FREE OF CHARGE, COPIES IN PAPER OR FLASH
DRIVE FORMAT OF ANY SOLICITATION PACKAGE MATERIALS BY (A)
CALLING THE DEBTORS’ TOLL-FREE RESTRUCTURING HOTLINE AT (877) 709-
4757 (U.S./CANADA) OR (424) 236-7235 (INTERNATIONAL); (B) VISITING THE
DEBTORS’             RESTRUCTURING              WEBSITE             AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN; (C) WRITING TO LORDSTOWN

1
    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.


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PROCESSING CENTER, C/O KURTZMAN CARSON CONSULTANTS LLC, 222 N.
PACIFIC COAST HIGHWAY, SUITE 300, EL SEGUNDO, CA 90245, OR (D)
EMAILING LORDSTOWNINFO@KCCLLC.COM (WITH ‘LORDSTOWN’ IN THE
SUBJECT LINE). AS SOON AS REASONABLY PRACTICABLE AFTER RECEIVING
SUCH A REQUEST, THE SOLICITATION AGENT WILL PROVIDE YOU WITH THE
COPIES YOU REQUESTED.

IF YOU VOTE TO ACCEPT THE PLAN, YOU WILL BE RELEASING THE
RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION TO THE
EXTENT PROVIDED IN ARTICLE VIII.D OF THE PLAN AND YOU WILL BE
IRREVOCABLY BOUND BY SUCH RELEASES. IF YOU VOTE TO REJECT THE
PLAN, YOU MAY OPT IN TO SUCH RELEASES ONLY IF YOU INDICATE SUCH
OPT IN ON THE BALLOT. IF YOU DO NOT RETURN THE BALLOT OR ABSTAIN
FROM VOTING ON THE PLAN, YOU WILL NOT BE BOUND BY THE RELEASES.


        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)
have sent you this ballot (the “Section 510(b) Claims Ballot”) because our records indicate that
you are a Holder of Class 8 Section 510(b) Claim (“Section 510(b) Claim”) against the Debtors
as of October 31, 2023 (the “Voting Record Date”). As such, you have a right to vote to accept
or reject the Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its
Affiliated Debtors, filed on [●], 2023 [D.I. [●]] (together with all schedules and exhibits thereto,
and as may be modified, amended, or supplemented, the “Plan”). 2

        The rights of Holders of Section 510(b) Claims are described in the Debtors’ Disclosure
Statement Pursuant to 11 U.S.C. § 1125 with Respect to Modified First Amended Joint Chapter
11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors, filed on [●], 2023 [D.I. [●]]
(together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented, the “Disclosure Statement”). On [●], 2023, the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) entered an order (the “Disclosure
Statement Order”) approving (i) the Disclosure Statement as containing adequate information
under section 1125 of the Bankruptcy Code and (ii) the procedures for soliciting votes to accept
or reject the Plan (the “Solicitation Procedures”). Bankruptcy Court approval of the Disclosure
Statement does not indicate approval of the Plan by the Bankruptcy Court. This Section 510(b)
Claim Ballot may not be used for any purpose other than for casting votes to accept or
reject the Plan, making certain certifications with respect to the Plan, and opting in to
certain releases under the Plan. If you believe that you have received this Section 510(b)
Claim Ballot in error, or if you believe that you have received the wrong Ballot, please
contact the Solicitation Agent immediately at the address, telephone number, or email
address set forth above.

        You are receiving along with this Section 510(b) Claim Ballot, (i) a cover letter
describing the contents of the Solicitation Package and providing instructions to obtain access
electronically, free of charge, to the Plan, Disclosure Statement and Disclosure Statement Order,

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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan or
    the Disclosure Statement, as applicable.


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including the Solicitation Procedures and other exhibits, at the Debtors’ restructuring website
(electronic access described above), and instructions for obtaining (free of charge) additional
copies of the materials provided in electronic format by contacting the Solicitation Agent, and
urging the Holders of Claims and Interests in each of the Voting Classes to vote to accept the
Plan; (ii) the Notice of (I) Approval of Disclosure Statement, (II) Establishing Voting Record
Date, (III) Hearing on Confirmation of the Proposed Plan, (IV) Procedures for Objecting to the
Confirmation of the Proposed Plan, and (V) Procedures and Deadline for Voting on the
Proposed Plan; and (iii) instructions that will direct you to the solicitation section of the
Debtors’ restructuring website, where all of the materials contained in the Solicitation Packages
are located, including the Disclosure Statement and all filed exhibits thereto, including the Plan,
and the Disclosure Statement Order and all exhibits thereto.

       If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan. To have your vote counted, you must
complete, sign, and return this Section 510(b) Claim Ballot to the Solicitation Agent by the
Voting Deadline.

        As a Holder of an impaired Claim or Interest under the Plan, if you vote to accept
the Plan, you consent to providing the releases contained in Article VIII.D of the Plan. As
set forth below, if you reject the Plan and affirmatively opt in to the release provision of the
Plan by checking the applicable box on your Ballot below, you will be deemed to consent to
providing the releases contained in Article VIII.D of the Plan. You will only be provided
with the option to opt in to the releases in Article VIII.D of the Plan if you vote to reject the
Plan. For the avoidance of any doubt, if you vote to accept the Plan you will be
automatically agreeing to consent to the releases contained in Article VIII.D, you will not
be provided with a separate option to opt in or out of such releases, and the opt-in option
on the Ballot will not be applicable to you. If you do not return the ballot or abstain from
voting, you will not be bound by the releases contained in Article VIII.D of the Plan. Please
be advised that the Plan also contains certain other release, injunction and exculpation
provisions. If the Plan is confirmed by the Bankruptcy Court, these sections will be
binding on you whether or not you decide to opt in to the releases in Article VIII.D of the
Plan. For a full description of these provisions, see Article IV.H of the Disclosure
Statement and Article VIII of the Plan.

       You should review the Disclosure Statement and the Plan before you vote. You may
wish to seek legal advice concerning the Plan and the Plan’s classification and treatment of
your Interest. Your Section 510(b) Claim has been placed in Class 8 under the Plan. If you
hold Claims or Interests in more than one Class, you will receive a ballot for each Class in
which you are entitled to vote.

        If the Solicitation Agent does not receive this Section 510(b) Claim Ballot on or before
the Voting Deadline, which is December 12, 2023 at 5:00 p.m. (prevailing Eastern Time), and
if the Voting Deadline is not extended, the vote included in this Section 510(b) Claim Ballot will
not count. You may submit the Section 510(b) Claim Ballot by (1) e-Ballot platform, (2)
standard mail, (3) overnight mail, or (4) personal delivery, so that it is actually received, in each
case, by the Solicitation Agent no later than the Voting Deadline. Specifically, each Ballot must
be returned as follows:


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         If by E-Ballot Platform:                 If by standard or overnight mail or personal
                                                                    delivery:
     https://www.kccllc.net/lordstown
Click “Submit Electronic Ballot (E-Ballot)”               Lordstown Processing Center
                and use the                          c/o Kurtzman Carson Consultants LLC
        E-ballot ID provided below                  222 N. Pacific Coast Highway, Suite 300
                                                             El Segundo, CA 90245


     THE DEBTORS AND THE SOLICITATION AGENT ARE NOT AUTHORIZED
TO PROVIDE, AND WILL NOT PROVIDE, LEGAL ADVICE.




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                                            BALLOT

PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
BEFORE COMPLETING THIS SECTION 510(B) CLAIM BALLOT

PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL OF
THE INFORMATION REQUESTED UNDER ITEM 3. IF THIS SECTION 510(B)
CLAIM BALLOT HAS NOT BEEN PROPERLY SIGNED IN THE SPACE PROVIDED,
YOUR VOTE MAY NOT BE VALID OR COUNTED AS HAVING BEEN CAST.


Item 1. Holder of Section 510(b) Claim.

       The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was
the Holder of Section 510(b) Claim for voting purposes.

        You must check the applicable box in the right-hand column below to “accept” or
“reject” the Plan for Class 8 Section 510(b) Claim in order to have your vote counted.

       Please note that you are voting all of your Section 510(b) Claim either to accept or reject
the Plan. You may not split your vote. If you do not indicate that you either accept or reject the
Plan by checking the applicable box below, your vote will not be counted. If you indicate that
you both accept and reject the Plan for your Section 510(b) Claim by checking both boxes
below, your vote will not be counted.

         The Holder of the Section 510(b) Claim votes to (please check one and only one box):

Voting     Description           Amount of             Vote to Accept or Reject the Plan
Class                            Section 510(b)
                                 Claim
8          Holder of the Section $1.00                    ACCEPT (vote FOR) the Plan
           510(b) Claim                                (By voting to accept the Plan you are
                                                       consenting to being a Releasing Party
                                                       with respect to the Third Party Release
                                                       contained in the Plan)

                                                           REJECT (vote AGAINST) the Plan


FOR THE AVOIDANCE OF DOUBT, EXCEPT AS OTHERWISE MAY BE SET
FORTH IN THE DISCLOSURE STATEMENT AND DISCLOSURE STATEMENT
ORDER, CONTINGENT AND/OR UNLIQUIDATED CLAIMS, INCLUDING ALL
SECTION 510(B) CLAIMS, HAVE BEEN TEMPORARILY ALLOWED IN THE
AMOUNT OF ONE DOLLAR ($1.00) FOR VOTING PURPOSES ONLY, AND NOT
FOR DISTRIBUTION, ALLOWANCE, OR ANY OTHER PURPOSE.




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Item 2. Releases by Holders of Claims and Interests.

The undersigned, as a Holder (or representative of a Holder of) Class 8 Section 510(b) Claim,
elects to:

     ☐ Opt In to the Third Party Release and Release Such Holder’s Claims in Accordance with
                                     Article VIII.D of the Plan

     ONLY APPLICABLE IF YOU VOTE TO REJECT THE PLAN. IF YOU VOTE
TO REJECT THE PLAN, YOU ARE ENTITLED TO OPT IN TO THE RELEASES
BELOW CONTAINED IN ARTICLE VIII.D OF THE PLAN BY CHECKING THE
ABOVE OPT IN BOX.

    IF YOU VOTE TO ACCEPT THE PLAN, YOU WILL ALSO BE CONSENTING
TO THE RELEASES BELOW CONTAINED IN ARTICLE VIII.D OF THE PLAN
REGARDLESS OF WHETHER OR NOT YOU CHECK THE ABOVE BOX.

     IF YOU DO NOT RETURN THE BALLOT OR ABSTAIN FROM VOTING ON
THE PLAN, YOU WILL NOT BE BOUND BY THE RELEASES ABOVE CONTAINED
IN ARTICLE VIII.D REGARDLESS OF WHETHER OR NOT YOU CHECK THE
ABOVE BOX.

                 NOTICE REGARDING CERTAIN RELEASE, EXCULPATION
                      AND INJUNCTION PROVISIONS IN THE PLAN

       If you (i) vote to accept the Plan or (ii) vote to reject the Plan AND opt in to the
releases by Holders of Claims and Interests as set forth below, you shall be deemed to have
consented to the releases contained in Article VIII.D of the Plan. If you abstain from
voting, you will not be a Releasing Party under the Plan and will not be bound by the
releases provided in Article VIII.D of the Plan. Article VIII.D of the Plan provides as
follows:

D.       Releases by Holders of Claims and Interests

      As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, each Releasing Party 3 shall be deemed to have conclusively,

3
  “Releasing Party” means each of the following in their capacity as such: (i) all Holders of Claims or Interests that
vote to accept the Plan; (ii) all Holders of Claims or Interests that are entitled to vote on the Plan who vote to reject
the Plan and opt in to the third party releases provided for in Article VIII.D by checking the box on the applicable
Ballot or form indicating that they opt in to granting such releases in the Plan submitted on or before the Voting
Deadline; and (iii) with respect to each of the foregoing Entities in clauses (i) and (ii), such Entity and its current and
former Affiliates, and such Entities’ and their current and former Affiliates’ current and former directors, managers,
officers, predecessors, successors, and assigns, subsidiaries, and each of their respective current and former equity
holders, officers, directors, managers, principals, members, employees, agents, advisory board members, financial
advisors, partners, attorneys, accountants, managed accounts or funds, management companies, fund advisors,
investment bankers, consultants, representatives, and other professionals, each in its capacity as such; provided,
however, that the Entities identified in part (iii) shall be Releasing Parties only to the extent the corresponding
Entities in parts (i) and (ii) are legally able to bind such Entities in part (iii) to the releases contained in the Plan


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absolutely, unconditionally, irrevocably, and forever released, waived, and discharged each
Debtor, Post-Effective Date Debtor, and other Released Party 4 from any and all Claims,
obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever
(in each case, whether prepetition or postpetition), including any derivative Claims
asserted or that may be asserted on behalf of the Debtors or their Estates, that such Entity
would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim or Interest, whether known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors or the conduct of their business (in each case, whether prepetition or postpetition),
the formulation, preparation, dissemination, or negotiation of the Plan, the Disclosure
Statement, any contract, instrument, release, or other agreement or document created or
entered into in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases,
the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the distribution of property under the Plan, or any
other related agreement, or upon any other act or omission, transaction, agreement, event,
or other occurrence taking place on or before the Effective Date (in each case, whether
prepetition or postpetition) related or relating to the foregoing. Without limiting the
generality of the foregoing, and subject to the paragraph directly below, pursuant to the
Releases set forth in this Article VIII.D, each Releasing Party shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever released, waived, and
discharged each Released Party from any Claims related to or asserted in the Putative
Class Actions (which actions include, for the avoidance of any doubt, the Ohio Securities
Class Action, the Delaware Shareholder Class Action, and the Post-Petition Securities
Action). Notwithstanding anything to the contrary in the foregoing, the releases set forth in
this Article VIII.D shall not be construed as (i) releasing any Released Party from Claims
or Causes of Action arising from an act or omission that is judicially determined by a Final
Order to have constituted actual fraud, willful misconduct, or gross negligence,
(ii) releasing any timely filed Proof of Claim (as may be validly amended under the Plan or
as maybe permitted by the Bankruptcy Code and Bankruptcy Rules) or any post-Effective
Date obligations of or under (A) any party or Entity under the Plan, (B) any Executory
Contract or Unexpired Lease to the extent such Executory Contract or Unexpired Lease
has been assumed by the Debtors pursuant to Final Order, or (C) any document,
instrument, or agreement executed to implement the Plan, or (iii) releasing any rights to

under applicable law; provided, further, that, subject to the terms of Article VIII.D, the Putative Class Action
Representatives shall not be deemed to be Releasing Parties.
4
  “Released Party” means each of the following in their capacity as such: (i) the Debtors; (ii) the Post-Effective Date
Debtors; (iii) each of the Debtors’ Estates; (iv) the UCC, (v) each of the UCC Members, solely in its capacity as a
UCC Member; (vi) the EC; (vii) each of the EC Members, solely in its capacity as an EC Member; and (viii) with
respect to each of the foregoing Entities in clauses (i) through (vii), their respective current and former officers,
directors, employees, attorneys, accountants, investment bankers, consultants and other professionals other than
Excluded Parties, each in its capacity as such; provided that, notwithstanding anything in the foregoing, any Person
or Entity that is an Excluded Party shall not be a Released Party; provided further that, notwithstanding anything in
the foregoing, any Person or Entity that is entitled to vote on the Plan but does not vote to accept the Plan or
otherwise opt in to the releases shall not be a Released Party.
“Excluded Parties” means Foxconn and the Former Directors and Officers.



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distributions required to be paid or delivered pursuant to the Plan or the Confirmation
Order.

        Notwithstanding anything to the contrary in the preceding paragraph, the Putative
Class Action Representatives shall not be deemed to constitute Releasing Parties; provided,
that the Debtors do not concede that the certification of a class is appropriate in any of the
Putative Class Actions and the exclusion of the Putative Class Action Representatives from
the releases set forth herein shall not constitute an admission by any Person or Entity,
including the Debtors, that a class is appropriate in any of the Putative Class Actions;
provided further, that the Debtors do not concede that the exclusion of the Putative Class
Action Representatives from the releases set forth herein in any way binds the other
members of any putative class or in any way affects the decision of any such putative class
members to be a Releasing Party and grant the releases set forth herein. All of the rights of
the Debtors, the Putative Class Action Representatives and any other party in connection
with the potential certification of any putative class and/or the granting of releases are
expressly reserved in all respects. If the exclusion of the Putative Class Action
Representative from the releases set forth herein does not bind other class members (as is
the Debtors’ contention), each such class member that is a Releasing Party under the terms
of the Plan shall be deemed to have conclusively, absolutely, unconditionally, irrevocably,
and forever released, waived, and discharged each Released Party from any Claims related
to or asserted in the Putative Class Actions (which actions include, for the avoidance of any
doubt, the Ohio Securities Class Action, the Delaware Shareholder Class Action, and the
Post-Petition Securities Action).

       Additionally, notwithstanding anything to the contrary in the Plan or the
Confirmation Order, nothing herein or therein does, shall, or may be construed to release,
the Debtors or bar the assertion of claims against them as nominal defendants in the Post-
Petition Securities Action for purposes of preserving and enforcing rights to coverage
under and recovery of the proceeds of the D&O Liability Insurance Policies.


Article VIII of the Plan also contains the following provisions:

C.     Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, the adequacy of which is hereby confirmed, as of the Effective Date, the
Debtors and their Estates, the Post-Effective Date Debtors and each of their respective
current and former Affiliates (with respect to non-Debtors, to the extent permitted by
applicable law), on behalf of themselves and their respective Estates, including, without
limitation, any successor to the Debtors or any Estate representative appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever released, waived, and
discharged the Released Parties from any and all Claims, Interests, obligations, rights,
suits, damages, Causes of Action, remedies, and liabilities whatsoever, in each case,
whether prepetition or postpetition (including any derivative Claims asserted or that may
be asserted on behalf of the Debtors or their Estates), whether known or unknown,



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foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, based
on or relating to, or in any manner arising from, in whole or in part, the Debtors or the
conduct of their business (in each case, whether prepetition or postpetition), the
formulation, preparation, dissemination, negotiation of the Plan, the Disclosure Statement,
any contract, instrument, release, or other agreement or document created or entered into
in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the
Plan, including the distribution of property under the Plan, or any other related
agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date (in each case, whether prepetition
or postpetition) related or relating to the foregoing. Notwithstanding anything to the
contrary in the foregoing, the releases set forth in this Article VIII.C shall not release
(i) any Released Party from Claims or Causes of Action arising from an act or omission
that is judicially determined by a Final Order to have constituted actual fraud, willful
misconduct, or gross negligence, or (ii) any post-Effective Date obligations of any party or
Entity under the Plan or any document, instrument, or agreement executed to implement
the Plan.

E.       Exculpation

        Except as otherwise specifically provided in the Plan, no Exculpated Party 5 shall
have or incur liability for, and each Exculpated Party is hereby exculpated from, any
Cause of Action for any claim related to any act or omission from the Petition Date to the
Effective Date in connection with, relating to, or arising out of, the Chapter 11 Cases, in
whole or in part, the Debtors, the formulation, preparation, dissemination, negotiation, of
the Plan, the Disclosure Statement, any contract, instrument, release, or other agreement
or document created or entered into in connection with the Plan, the Disclosure Statement,
the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan or the distribution of
Cash under the Plan, or any other related agreement, except for Claims or Causes of
Action arising from an act or omission that is judicially determined in a Final Order to
have constituted actual fraud, willful misconduct, or gross negligence, but in all respects,
such Exculpated Parties shall be entitled to the fullest extent permitted by law to
reasonably rely upon the advice of counsel with respect to their duties and responsibilities.
The Exculpated Parties have, and upon Consummation of the Plan, shall be deemed to
have, participated in good faith and in compliance with the applicable laws with regard to
the solicitation of, and distribution of, consideration pursuant to the Plan and, therefore,
are not, and on account of such distributions shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances
or rejections of the Plan or such distributions made pursuant to the Plan.

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  “Exculpated Parties” means each of the following in their capacity as such: (i) the Debtors; (ii) the Chapter 11
Directors and Officers, (iii) agents, members of management and other employees of the Debtors, in each case who
are or were acting in such capacity on or after the Petition Date; (iv) the UCC and the UCC Members; (v) the EC
and the EC Members; and (vi) all predecessors, successors and assigns, subsidiaries, affiliates, members, partners,
officers, directors, agents, attorneys, advisors, accountants, investment bankers, consultants, and other professionals,
to the extent such parties are or were acting in such capacity of any of the Persons identified in (i), (ii), (iii) (iv), and
(v) above on or after the Petition Date.


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F.   Injunction

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR
DISTRIBUTIONS REQUIRED TO BE PAID OR DELIVERED PURSUANT TO THE
PLAN OR THE CONFIRMATION ORDER, ALL ENTITIES THAT HAVE HELD,
HOLD, OR MAY HOLD CLAIMS OR INTERESTS THAT HAVE (1) BEEN RELEASED
PURSUANT TO ARTICLE VIII.C OR ARTICLE VIII.D OF THE PLAN, (2) SHALL BE
DISCHARGED PURSUANT TO ARTICLE VIII.D OF THE PLAN, OR (3) ARE
SUBJECT TO EXCULPATION PURSUANT TO ARTICLE VIII.E OF THE PLAN, ARE
PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM
TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE
DEBTORS, THE REORGANIZED DEBTORS, THE RELEASED PARTIES (TO THE
EXTENT OF THE RELEASES PROVIDED PURSUANT TO ARTICLE XIII.D WITH
RESPECT TO THE RELEASED PARTIES), OR THE EXCULPATED PARTIES (TO
THE EXTENT OF THE EXCULPATION PROVIDED PURSUANT TO ARTICLE VIII.E
OF THE PLAN WITH RESPECT TO THE EXCULPATED PARTIES):
(I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (II) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS
ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (III) CREATING, PERFECTING, OR ENFORCING ANY
LIEN OR ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE
PROPERTY OR THE ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS; (IV) EXCEPT TO THE EXTENT REQUIRED TO RENDER HOLDERS
OF CLASS 5 UNIMPAIRED, ASSERTING ANY RIGHT OF SETOFF, SUBROGATION,
OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF
OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS UNLESS SUCH ENTITY HAS TIMELY ASSERTED SUCH SETOFF
RIGHT IN A DOCUMENT (WHICH MAY BE A PROOF OF CLAIM) FILED WITH
THE BANKRUPTCY COURT IN ACCORDANCE WITH THE TERMS OF THE PLAN
EXPLICITLY PRESERVING SUCH SETOFF, AND NOTWITHSTANDING AN
INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT SUCH ENTITY
ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF SETOFF PURSUANT
TO APPLICABLE LAW OR OTHERWISE; AND (V) COMMENCING OR
CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
SUCH CLAIMS OR INTERESTS RELEASED OR SETTLED PURSUANT TO THE
PLAN.

     FOR THE AVOIDANCE OF DOUBT, NOTHING IN ARTICLE VIII.F OF THE
PLAN SHALL AFFECT ANY RIGHT OF FOXCONN TO SETOFF OR RECOUP THE
AMOUNT OF ANY ALLOWED CLAIM OR THE AMOUNT OF ANY DISTRIBUTIONS
TO WHICH THEY ARE ENTITLED ON ACCOUNT OF ALLOWED FOXCONN


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PREFERRED STOCK INTERESTS, IF ANY, AND ALL SUCH RIGHTS SHALL BE
FULLY PRESERVED TO THE EXTENT AVAILABLE UNDER APPLICABLE LAW
(AND ANY RIGHT OF THE DEBTORS AND THE POST-REORGANIZED DEBTORS
WITH RESPECT TO THE FOREGOING SHALL ALSO BE PRESERVED).

IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT, THE DEBTOR
RELEASES, EXCULPATION AND INJUNCTION PROVISIONS SET FORTH IN
ARTICLES VIII.C, VIII.E AND VIII.F OF THE PLAN, RESPECTIVELY, WILL BE
BINDING ON HOLDERS OF SECTION 510(B) CLAIMS WHETHER OR NOT THEY
ELECT TO OPT IN TO THE RELEASES IN ARTICLE VIII.D OF THE PLAN.

Item 3. Certifications, Acknowledgement, Signature and Date.

By signing this Section 510(b) Claim Ballot, the undersigned entity certifies to the Bankruptcy
Court and the Debtors that:

       a)      it has the power and authority to vote to accept or reject the Plan;

       b)      as of the Voting Record Date, either: (i) it is the Holder of the Class 8 Section
               510(b) Claims being voted on this Ballot; or (ii) it is an authorized signatory for
               the Holder of the Class 8 Section 510(b) Claims being voted on this Ballot;

       c)      it has received access to the Disclosure Statement, the Plan and the Solicitation
               Package and acknowledges that the solicitation is being made pursuant to the
               terms and conditions set forth therein;

       d)      it has not submitted any other Ballots for other Section 510(b) Claims, or if it has
               submitted Ballots for other such Claims, then such Ballots indicate the same vote
               to accept or reject the Plan;

       e)      it understands and acknowledges that if multiple Ballots are submitted voting the
               Claim set forth in Item 1, only the last properly completed Ballot voting the Claim
               and received by the Solicitation Agent before the Voting Deadline shall be
               deemed to reflect the voter’s intent and thus to supersede and revoke any prior
               Ballots received by the Solicitation Agent;

       f)      it acknowledges that a vote to accept the Plan constitutes an acceptance of the
               treatment of such Class 8 Section 510(b) Claim;

       g)      it acknowledges and understands that (i) if no Holders in a class eligible to vote to
               accept or reject the Plan vote on the Plan, then the Debtors will request at the
               Confirmation Hearing that the Bankruptcy Court deem the Plan accepted by such
               class; and (ii) any Class of Claims or Interests that does not have a Holder of an
               Allowed Claim or Interest or a Claim temporarily allowed by the Bankruptcy
               Court as the date of the Confirmation Hearing shall be deemed eliminated from
               the Plan for purposes of voting to accept or reject the Plan and for purposes of
               determining acceptance or rejection of the Plan by such Class pursuant to section
               1129(a)(8) of the Bankruptcy Code;


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       h)       it acknowledges and agrees that the Debtors may make conforming changes to the
                Plan to the extent provided by Bankruptcy Rule 3019 as may be reasonably
                necessary; provided that the Debtors will not re-solicit acceptances or rejections
                of the Plan in the event of such conforming changes;

       i)       all authority conferred or agreed to be conferred pursuant to this Ballot, and every
                obligation of the undersigned hereunder, shall be binding on the transferees,
                successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and
                legal representatives of the undersigned, and shall not be affected by, and shall
                survive, the death or incapacity of the undersigned; and

       j)       it understands that an otherwise properly completed, executed, and timely
                returned Ballot failing to indicate either acceptance or rejection of the Plan, or
                indicating both acceptance and rejection of the Plan, will not be counted.


Print or Type Name of Claimant:           __________________________________________


Last Four Digits of Social Security
Number of Claimant:                       __________________________________________


Signature:                                __________________________________________


Name of Signatory (if different than
Claimant):                                __________________________________________


If by Authorized Agent, Title of
Agent:                                    __________________________________________


Street Address:                           __________________________________________


City, State, Zip Code:                    __________________________________________


Telephone Number:                         __________________________________________


Email Address:                            __________________________________________


Date Completed:                           __________________________________________




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       IF THIS BALLOT IS NOT RECEIVED BY THE SOLICITATION AGENT
       ON OR BEFORE DECEMBER 12, 2023, AT 5:00 P.M. (EASTERN TIME),
                    YOUR VOTE WILL NOT BE COUNTED.


        Ballots must be delivered to the Solicitation Agent (a) at the appropriate address
listed below, or in the enclosed envelope, as applicable, or (b) via the electronic Ballot
submission platform on the Solicitation Agent’s website (the “E-Ballot Platform”) by
visiting http://www.kccllc.net/lordstown, and following the instructions set forth on the
website. You are encouraged to submit your Ballot via the E-Ballot Platform. If you
choose to submit your Ballot via the E-Ballot Platform, you should NOT submit a hard
copy Ballot. Please choose only one method for returning your Ballot.

           If by E-Ballot Platform:                  If by standard or overnight mail or personal
                                                                       delivery:
      https://www.kccllc.net/lordstown
                                                             Lordstown Processing Center
  Click “Submit Electronic Proof of Claim               c/o Kurtzman Carson Consultants LLC
            (ePOC)” and use the                       222 N. Pacific Coast Highway, Suite 300El
         E-ballot ID provided below                              Segundo, CA 90245


       To submit your Ballot via the E-Ballot Platform, please                                visit
http://www.kccllc.net/lordstown and follow the instructions to submit your Ballot.

      IMPORTANT NOTE: You will need the following information to retrieve and
submit your customized electronic Ballot:

               Unique E-Ballot ID#: [______________________________________]

       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via electronic or online transmission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.

       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1
of your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID#
you receive, as applicable. Holders of Claims and Interests who cast a Ballot using the E-Ballot
Platform should NOT also submit a paper Ballot.

         If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at (877) 709-4757 (U.S./Canada) or (424) 236-7235 (international);
(b) visiting the Debtors’ restructuring website at https://www.kccllc.net/lordstown; (c) writing to
Lordstown Processing Center, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific Coast
Highway, Suite 300,El Segundo, CA 90245 or (d) emailing lordstowninfo@kccllc.com (with
‘Lordstown’ in the subject line).                 Information may also be obtained at
https://www.kccllc.net/lordstown.



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    THE SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT,
PROVIDE LEGAL ADVICE.

        Any admission of Class 8 Section 510(b) Claims, for purposes of voting on the Plan, is
not an admission of liability on the part of the Debtors or any other party for payment purposes.

     INSTRUCTIONS FOR COMPLETING THIS SECTION 510(B) CLAIM BALLOT

To properly complete this Section 510(b) Claim Ballot, you must follow the procedures
described below, which explain each of the items contained on your Section 510(b) Claim Ballot.
If you have any questions, please contact the Solicitation Agent at the phone number or email
provided above or visit https://www.kccllc.net/lordstown.

The Bankruptcy Court may confirm the Plan and thereby bind the Holders of the Section
510(b) Claims, by the terms of the Plan. Please review the Disclosure Statement for more
information.

1.     Submitting the Section 510(b) Claim Ballot

       Use of Online Ballot Portal—If Submitting Your Vote Through the E-Ballot
       Platform:

        The Solicitation Agent will accept Ballots if properly completed through the E-Ballot
Platform. To submit your Section 510(b) Claim Ballot via the E-Ballot Platform, visit
https://www.kccllc.net/lordstown and follow the instructions to submit your Ballot.

IMPORTANT NOTE: You will need the following information to retrieve and submit your
customized electronic Ballot:

                     Unique E-Ballot ID#: [_____________________]


       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via online or electronic submission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.

        Each E-Ballot ID# is to be used solely for voting only those Claims or Interests described
in Item 1 of your electronic Ballot. Please complete and submit an electronic Ballot for each E-
Ballot ID# you receive, as applicable. Creditors who cast a Ballot using the E-Ballot Platform
should NOT also submit a paper Ballot.

      Use of Hard Copy Ballot—If Submitting Your Vote Through Standard or
Overnight Mail or Personal Delivery:

        You must return the Ballot in either the enclosed envelope or by standard or overnight
mail or personal delivery to:




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                                 Lordstown Processing Center
                            c/o Kurtzman Carson Consultants LLC
                                222 N. Pacific Coast Highway
                                          Suite 300
                                    El Segundo, CA 90245

        Ballots received via email, facsimile or other methods will not be counted. The
Solicitation Agent will tabulate all properly completed Ballots received on or before the
Voting Deadline.

2.    To fill out your Section 510(b) Claim Ballot, you must complete the following:

      a.      Item 1. Holder of Section 510(b) Claims. Subject to the terms and conditions of
              the Plan, Section 510(b) Claims will receive treatment as provided for in Article
              III of the Plan for Section 510(b) Claims in Class 8, and will be administered as
              provided for in Article VI of the Plan, only to the extent such Section 510(b)
              Claims are Allowed and the Plan is consummated. You should review the
              particular treatment of Class 8 before you vote this Section 510(b) Claim Ballot.
              For additional discussion of treatment and rights under the Plan, please read
              the Disclosure Statement and the Plan.

      b.      Item 2. Releases By Holders of Claims and Interests. Pursuant to Article
              VIII.D of the Plan, the Debtors seek approval of the release provision set forth in
              Article VIII.D of the Plan and provided above. Holders of Claims or Interests that
              vote to reject the Plan may opt in to this release by checking the box in Item 2.

IF THE PLAN BECOMES EFFECTIVE, AS A HOLDER OF SECTION 510(B) CLAIMS
UNDER THE PLAN, IF YOU VOTE TO ACCEPT THE PLAN, YOU ARE DEEMED TO
PROVIDE THE RELEASES CONTAINED IN ARTICLE VIII.D OF THE PLAN, AS SET
FORTH ABOVE. IF YOU VOTE TO REJECT THE PLAN, YOU MAY CHECK THE
BOX IN ITEM 3 TO OPT IN TO THE RELEASES. IF YOU DO NOT RETURN THE
BALLOT OR ABSTAIN FROM VOTING ON THE PLAN, YOU WILL NOT BE BOUND
BY THE RELEASES.



      c.      Item 3. (Certifications, Acknowledgement, Signature, and Date). Either the
              Holder, the Holder’s personal representative, or the Holder’s attorney must sign
              the Ballot. If the Ballot is not signed, the vote shown on the Ballot will not be
              counted.

              1.     Holders with Social Security Numbers must provide the last four digits of
                     their Social Security Number in Item 3 of the Ballot.

              2.     The Holder, the Holder’s personal representative, or the Holder’s attorney
                     must certify certain information on the Ballot.          Please read the




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        certifications below and ensure that the information on the Ballot meets
        the requirements of those certifications.

   3.   By signing the Ballot, you make the following certifications on
        information and belief:

        (A)    as of the Voting Record Date, either: (i) you are the Holder of the
               Class 8 Section 510(b) Claims being voted on this Ballot; or (ii)
               you are an authorized signatory for the Holder of the Class 8
               Section 510(b) Claims being voted on this Ballot;
        (B)    that you have received access to the Disclosure Statement, the Plan
               and the Solicitation Package and acknowledge that the solicitation
               is being made pursuant to the terms and conditions set forth
               therein;

        (C)    you have not submitted any other Ballots for other Section 510(b)
               Claims, or if you have submitted Ballots for other such Claims,
               then such Ballots indicate the same vote to accept or reject the
               Plan;

        (D)    that you understand and acknowledge that if multiple Ballots are
               submitted voting the Claim set forth in Item 1, only the last
               properly completed Ballot voting the Claim and received by the
               Solicitation Agent before the Voting Deadline shall be deemed to
               reflect your intent and thus to supersede and revoke any prior
               Ballots received by the Solicitation Agent;

        (E)    that you acknowledge that a vote to accept the Plan constitutes an
               acceptance of the treatment of such Class 8 Claim and to be a
               Releasing Party under the Plan;

        (F)    that you acknowledge and understand that (i) if no holders in a
               class eligible to vote to accept or reject the Plan vote on the Plan,
               then the Debtors will request at the Confirmation Hearing that the
               Bankruptcy Court deem the Plan accepted by such class; and (ii)
               any Class of Claims or Interests that does not have a Holder of an
               Allowed Claim or Interest or a Claim temporarily allowed by the
               Bankruptcy Court as the date of the Confirmation Hearing shall be
               deemed eliminated from the Plan for purposes of voting to accept
               or reject the Plan and for purposes of determining acceptance or
               rejection of the Plan by such Class pursuant to section 1129(a)(8)
               of the Bankruptcy Code;

        (G)    that you acknowledge and agree that the Debtors may make
               conforming changes to the Plan to the extent provided by
               Bankruptcy Rule 3019 as may be reasonably necessary; provided



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                            that the Debtors will not re-solicit acceptances or rejections of the
                            Plan in the event of such conforming changes;

                    (H)     all authority conferred or agreed to be conferred pursuant to this
                            Ballot, and every obligation of the undersigned hereunder, shall be
                            binding on the transferees, successors, assigns, heirs, executors,
                            administrators, trustees in bankruptcy, and legal representatives of
                            the undersigned, and shall not be affected by, and shall survive, the
                            death or incapacity of the undersigned; and

                    (I)     that you understand that an otherwise properly completed,
                            executed, and timely returned Ballot failing to indicate either
                            acceptance or rejection of the Plan, or indicating both acceptance
                            and rejection of the Plan, will not be counted.

ADDITIONAL INSTRUCTIONS FOR COMPLETING THIS SECTION 510(B) CLAIM
BALLOT:

1.   The following Section 510(b) Claim Ballots will NOT be counted:

     a.      any Section 510(b) Claim Ballot submitted by a person who does not hold, or
             represent a person that holds, a Claim in the applicable Voting Class of the Voting
             Record Date;

     b.      any Section 510(b) Claim Ballot received after the Voting Deadline unless the
             Debtors have granted an extension in writing (including electronic mail) with
             respect to such Ballot. Delivery of the Section 510(b) Claim Ballot shall be
             deemed made only when the original properly executed Section 510(b) Claim
             Ballot is actually received by the Solicitation Agent on or before the Voting
             Deadline;

     c.      any Section 510(b) Claim Ballot that is illegible or contains insufficient
             information to permit the identification of the claimant or interest holder;

     d.      any Section 510(b) Claim Ballot that is submitted in an inappropriate form that is
             not the appropriate Ballot for such Claim;

     e.      any unsigned Section 510(b) Claim Ballot; provided, however, for the avoidance
             of doubt, a Section 510(b) Claim Ballot submitted via electronic mail shall be
             deemed to contain an original signature;

     f.      a Section 510(b) Claim Ballot without a vote on the Plan or in which the claimant
             or interest holder has voted to both accept and reject the Plan; or

     g.      any Section 510(b) Claim Ballot that is not completed.

     You must vote all of your Claims and Interests within the same Class either to accept or
     reject the Plan and may not split your vote. Further, if a Holder has multiple Claims or


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     Interests within the same Class, the Debtors may, in their discretion, aggregate the Claims
     and Interests of any particular Holder with multiple Claims or Interests within the same
     Class for the purpose of counting votes.

2.   This Section 510(b) Claim Ballot does not constitute, and shall not be deemed to be (a) a
     Proof of Claim or Interest or (b) an assertion or admission with respect to a Claim or
     Interest.

3.   Please be sure to sign and date your Section 510(b) Claim Ballot. If you are signing a
     Section 510(b) Claim Ballot in your capacity as a trustee, executor, administrator,
     guardian, attorney in fact, officer of a corporation, or otherwise acting in a fiduciary or
     representative capacity, you must indicate such capacity when signing and, if required or
     requested by the Solicitation Agent, the Debtors, or the Bankruptcy Court, must submit
     proper evidence to the requesting party to so act on behalf of such Holder. In addition,
     please provide your name and mailing address if it is different from that set forth on the
     attached mailing label or if no such mailing label is attached to the Section 510(b) Claim
     Ballot.

4.   The Section 510(b) Claim Ballot is not a letter of transmittal and may not be used for any
     purpose other than to vote to accept or reject the Plan. Accordingly, at this time, Holders
     of Claims and Interests should not surrender certificates or instruments representing or
     evidencing their Claims and Interests, and the Debtors will not accept delivery of any
     such certificates or instruments surrendered together with a Ballot.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE,
OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN
THE MATERIALS MAILED WITH THIS BALLOT OR OTHER MATERIALS
AUTHORIZED BY THE BANKRUPTCY COURT.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, RECEIVED A
DAMAGED BALLOT OR HAVE LOST YOUR BALLOT, OR NEED ADDITIONAL
COPIES OF THE BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE
CONTACT THE SOLICITATION AGENT AT:

TELEPHONE: (877) 709-4757 (U.S./CANADA) OR (424) 236-7235 (INTERNATIONAL)

EMAIL: LORDSTOWNINFO@KCCLLC.COM

WEBSITE: HTTPS://WWW.KCCLLC.NET/LORDSTOWN




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